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                            UNITED STATES DISTRICT COURT                         WRWKHWULDOGDWH
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
                                                      )       NO. 3:11-cr-00012
v.                                                    )
                                                      )       JUDGE SHARP
RAY OZEN [31]                                         )
DEZORICK FORD [32]                                    )


                  GOVERNMENT’S MOTION TO RESCHEDULE TRIAL
       The undersigned has received the Court’s order (DE 1887) which grants the defendants’

motion to continue trial and re-sets that trial for January 21, 2014. The undersigned and co-

counsel, AUSA Ingram, who are the only prosecutors with knowledge of this case are scheduled

to be in trial in Senior Judge Nixon’s court beginning on January 14, 2014 in U.S. v.

Marchbanks, which is likely to last two weeks. The undersigned and AUSA Ingram will then

begin trial in Senior Judge Nixon’s court in U.S. v. Lachaunti Williams on January 28, 2014, for

what is likely to be another two week trial. Thus, it appears that counsel for the United States

will not be available on the recently scheduled date for the captioned case. The United States

requests the Court vacate the newly set trial date and permit the parties to consult and select

mutually agreeable dates for the Court’s consideration.


                                                      Respectfully submitted,




                                                      DAVID RIVERA
                                                      Acting United States Attorney for the
                                                      Middle District of Tennessee

                                                      s/ Sunny A.M. Koshy________________
                                                      SUNNY A.M. KOSHY



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